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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 LAUREL J. MONTOYA
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-00392-LJO-SKO
12                                Plaintiff,            STIPULATION TO CONTINUE SENTENCING;
                                                        ORDER THEREON
13                          v.
                                                        DATE: October 5, 2015
14   ADAM CHRISTOPHER VEGA,                             TIME: 8:30 a.m.
                                                        COURT: Hon. Lawrence J. O'Neill
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for sentencing on October 5, 2015.

21          2.     By this stipulation, the parties now move to continue the sentencing hearing to October

22 26, 2015.

23          3.     The sentencing would normally have been set for October 13, 2015 however counsel for

24 the government is unavailable from October 7, 2015 to October 26, 2015. The probation officer

25 contacted counsel for the government regarding the short setting and is requesting a date later than

26 October 5, 2015 due to caseload.
27          4.     Counsel for defendant does not object to the sentencing being continued to October 26,

28 2015.

      STIPULATION TO CONTINUE SENTENCING HEARING        1
30    AND ORDER THEREON
           Case 1:13-cr-00392-JLT-SKO Document 92 Filed 08/06/15 Page 2 of 2


 1         IT IS SO STIPULATED.

 2
     Dated: August 4, 2015                               BENJAMIN B. WAGNER
 3                                                       United States Attorney
 4
                                                         /s/ LAUREL J. MONTOYA
 5                                                       LAUREL J. MONTOYA
                                                         Assistant United States Attorney
 6

 7
     Dated: August 4, 2015                               /s/ E. MARSHALL HODGKINS
 8                                                       E. MARSHALL HODGKINS
 9                                                       Counsel for Defendant
                                                         ADAM CHRISTOPHER VEGA
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13                                                 ORDER

14         IT IS SO ORDERED that the sentencing hearing is continued from October 5, 2015 to October

15 26, 2015 at 8:30 a.m.

16
     IT IS SO ORDERED.
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18
        Dated:    August 5, 2015                          /s/ Lawrence J. O’Neill
                                                   UNITED STATES DISTRICT JUDGE
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      STIPULATION TO CONTINUE SENTENCING HEARING     2
30    AND ORDER THEREON
